                                                   REMITTANCE STATEMENT
                                              Bradford W. Caraway, Chapter I 3 Standing Trustee
                                                        Chapter I 3 Bankruptcy Cases
                                                              P.O. Box 10848
                                                           Birmingham, AL 35202


                                           DO NOT SEPARATE REMITTANCE STATEMENT FROM CHECK


                          Check Number                                                                    Printed

                               737215                                                                3/6/2020


                                                                                                    Issue Date
               CLERK. US BANKRUPTCY COURT
               Unclaimed Monies
                                                                                                    03/06/2020
               1800 5th Avenue North
               Birmingham, AL 35203



    Case
   Number
                 I                Debtor            I       Acct No.                  I    Paid Through      I      Unpaid
                                                                                                                    Balance
                                                                                                                               I   Amount
                                                                                                                                    Paid
1304676        FRAZIER. BRENDA A.                                                                            $.00                          82.23
        ORIGINAL CHECK 727620 10/04/2019 FRAZIER, BRENDA 4901 COURT I ENSLEY BIRMINGHAM AL 35208
1304676        FRAZIER, BRENDA A.                                                                            $.00                      636.99
        ORIGINAL CHECK 724496 09/06/2019 FRAZIER, BRENDA 4901 COURT I ENSLEY BIRMINGHAM AL 35208
1402697        WRIGHT, KATRICE L.                                                                     Continuing                            1.13
        ORIGINAL CHECK 725476 09/06/2019 WRIGHT, KATRICE 2136 POWDERLY AVE SW BIRMINGHAM AL 35211
1402713        SCOTT,SR, COREY ANTOINE                                                                Continuing                      496.85
        ORIGINAL CHECK 725477 09/06/2019 SCOTT, SR., COREY & SCOTT, JONETTE 6212 STONECREST DR.. ..BIRMINGHAM AL 35242
1403113        ARMSTRONG, DEBORAH D                                                                   Continuing                            7.41
        ORIGINAL CHECK 727630 10/04/2019 ARMSTRONG, DEBORAH 5191 STERLING GLEN DRIVE PINSON AL 35126
1403116        CALDWELL, MELVIN                                                                       Continuing                            7.91
        ORIGINAL CHECK 725484 09/06/2019 CALDWELL, MELVIN 1424 BRIGHTON ROAD BIRMINGHAM AL 35228
1403386        MORELAND, TIFFANY D                                                                    Continuing                       109.89
        ORIGINAL CHECK 725488 09/06/2019 MORELAND, TIFFANY 28 11TH COURT NORTH BIRMINGHAM AL 35204
1404405        HALL, DENNIS T.                                                                        Continuing                            1.57
        ORIGINAL CHECK 727639 10/04/2019 HALL, DENNIS & JANICE 415 86TH STREET SOUTH BIRMINGHAM AL 35206
1500933        TUCKER, ANGEL L.                                                                       Continuing                           4.66
        ORIGINAL CHECK 727648 10/04/2019 TUCKER, ANGEL 1804 ETOWAH STREET BIRMINGHAM AL 35217
1500980        JACKSON, Ill, CHARLES NATHANIEL                                                        Continuing                      489.15
        ORIGINAL CHECK 727649 10/04/2019 JACKSON, Ill, CHARLES 109 14TH COURT NORTHWEST ...BIRMINGHAM AL 35215
1501541        WILLIAMS, DENISHA $                                                                    Continuing                      172.56
        ORIGINAL CHECK 727650 10/04/2019 WILLIAMS, DENISHA 3203 AVENUE S, APT P BIRMINGHAM AL 35208
1502539        MOORE, MELISSA ANN                                                                           $.00                      400.00
       ORIGINAL CHECK 725515 09/06/2019 MOORE, MELISSA 1930 HIGHWAY 441 WILSONSVILLE AL 35186
1502550        ROBINSON, JR, PHILLIP RAY                                                              Continuing                           10.56
        ORIGINAL CHECK 725516 09/06/2019 ROBINSON, JR, PHILLIP & ROBINSON, 1417 ELIZABETH AVENUE BIRMINGHAM AL 35217
1503697        BASS, BERYL JANA!                                                                      Continuing                           4.96
       ORIGINAL CHECK 725517 09/06/2019 BASS, BERYL 4480 WINCHESTER HILLS WAY BIRMINGHAM AL 35215
1504934        SEAY, SR, RAY A                                                                        Continuing                           14.70
       ORIGINAL CHECK 725523 09/06/2019 SEAY, SR., RAY 2517 CROSSBOW DRIVE BIRMINGHAM AL 35214
1600344        PYE, BRANDEE RENEE                                                                     Continuing                           3.02
       ORIGINAL CHECK 725528 09/06/2019 PYE, BRANDEE 1054 LAUREL LAKES DRIVE HELENA AL 35022
1601153        DALE, SHERRIE ELAINE                                                                   Continuing                           2.87
       ORIGINAL CHECK 725534 09/06/2019 DALE, SHERRIE 800 HIGHBURY DRIVE CENTER POINT AL 35215
1603842        KING, CYNTHIA MICHELLE                                                                 Continuing                       72.63
       ORIGINAL CHECK 727665 10/04/2019 KING, CYNTHIA 7748 4TH AVE S APT D ....BIRMINGHAM AL 35206
1700625        KING, PAULA                                                                                  $.00                      512.00
       ORIGINAL CHECK 725557 09/06/2019 KING, PAULA 1038 GRUBBS AVE, APT 202 ....GARDENDALE AL 35071
1803512        MILLER, CORNELIOUS JERRY                                                                     $.00                      220.00
       ORIGINAL CHECK 725572 09/06/2019 MILLER, CORNELIOUS 2517 WATERFORD PL BIRMINGHAM AL 35244
                                THIS STATEMENT COVERS PAYMENTS ON YOUR CLAIMS FOR THE ABOVE CASES
                                                  PLEASE RETAIN FOR YOUR RECORD.
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           Case 19-01796-DSC13                  Doc 38    Filed 03/20/20 Entered 03/20/20 16:49:00                            Desc Main
                                                         Document     Page 1 of 2
                                                    REMITTANCE STATEMENT
                                               Bradford W. Caraway, Chapter 13 Standing Trustee
                                                         Chapter 13 Bankruptcy Cases
                                                               P.O. Box 10848
                                                           Birmingham, AL 35202


                                            DO NOT SEPARATE REMITTANCE STATEMENT FROM CHECK


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                               737215                                                                3/6/2020


                                                                                                    Issue Date
               CLERK, US BANKRUPTCY COURT
               Unclaimed Monies                                                                     03/06/2020
               1 800 5th Avenue North
               Birmingham, AL 35203


                                                                                                                                   Amount
    Case
   Number
1901796
                 I                 Debtor
              HARBUCK, GARRETT MANSIR
                                                     I       Acct No.                 I    Paid Through   I       Unpaid
                                                                                                                 Balance
                                                                                                                  Continuing
                                                                                                                               I    Paid
                                                                                                                                      1,530.45
       ORIGINAL CHECK 725583 09/06/2019 HARBUCK, GARRETT 6359 CATHWICK CIRCLE MC CALLA AL 35111
                                                                                                                TOTAL               4,781.54




                                THIS STATEMENT COVERS PAYMENTS ON YOUR CLAIMS FOR THE ABOVE CASES
                                                  PLEASE RETAIN FOR YOUR RECORD.
 Page 2 of 2
            Case 19-01796-DSC13                  Doc 38    Filed 03/20/20 Entered 03/20/20 16:49:00                        Desc Main
                                                          Document     Page 2 of 2
